      Case: 2:20-cv-03790-MHW-CMV Doc #: 42-2 Filed: 02/16/22 Page: 1 of 1 PAGEID #: 958


Stephens, Joseph

Subject:                            FW: Re: CONFIDENTIAL: PRIVATE COMMUNICATION



       From: Whittaker, Faith <faith.whittaker@dinsmore.com>
       Sent: Friday, February 11, 2022 3:18:03 PM
       To: Wesley Fortune <wfortune@wtflegal.com>
       Subject: RE: CONFIDENTIAL: PRIVATE COMMUNICATION


       Wes,



       I hope all is well with you too.



       We cannot agree to allow you to substitute in as Counsel in the remaining action against
       Abuelo’s and we will oppose a motion for you to substitute in as trial counsel.



       Thanks,

       Faith




       Faith C. Whittaker
       Partner, Employment Practices Group Chair
       Dinsmore & Shohl LLP • Legal Counsel
       255 East Fifth Street, Suite 1900, Cincinnati, OH 45202
       T (513) 977-8491 • F (513) 977-8141




                                                                 1
